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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
In re: Case No. 18-02807
Chapter 7
Mark Piburn
Debtor.

CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
SERVICES AND KELLER WILLIAMS REALTY TO PROCURE CONSENTED
PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

STEPHEN MEININGER, as Chapter 7 Trustee (the “Trustee”) for the above
referenced debtor (the “Debtor”), files this Application for entry of an order authorizing retention
of (1) BK Global Real Estate Services (““BKRES”) and (2) Marcia Peacock of Keller Williams
Realty (“Listing Agent’). In support thereof, the Trustee respectfully states as follows:

 

PRELIMINARY STATEMENT

Trustee requests approval to retain BKRES and Listing Agent, at no cost to the
estate, to negotiate with and persuade the first lienholder on certain real property in which the
estate has no equity to (1) allow Trustee to sell such property at the highest price that the market
will bear, (2) waive the resulting deficiency claim and (3) pay a 11 U.S.C. § 506 surcharge to
provide a carve-out for the benefit of the estate and pay all other sale expenses, including a 6%
brokerage commission that will be shared equally by BKRES and Listing Agent only upon the
closing of a sale that is approved by this Court.

BKRES and its affiliates have proprietary technology and a national team of
experienced loan servicing specialists, asset managers, negotiators, trustee relation managers,
real estate brokers and agents, closing specialists and attorneys with extensive experience in
procuring the consent of mortgage lenders and servicers to sell over-encumbered properties and
provide significant cash recoveries to selling estates with no equity, through the Consented
Sale™ process described herein.

BKRES and Listing Agent will not be entitled to any compensation from the
estate whatsoever under any circumstances. They will only receive and share a customary
brokerage commission that is paid by secured creditor as a 11 U.S.C. § 506 surcharge approved
by this Court.

The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a
Consented Sale™ will likely result in secured creditor paying a carve-out for the benefit of the
estate with proceeds from the public sale of an asset in which the estate has no equity and
(2) expects to obtain secured Creditors’ agreement to a Consented Sale™, and bring a separate
motion seeking this Court’s approval of the procedures, terms and conditions by which the over-
encumbered property will be sold, within the coming months.
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JURISDICTION

1. This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.
§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2)(A), (M), (N), and (O).
2. Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

BACKGROUND
3. The Debtor commenced this case by filing a voluntary petition for relief under
Chapter 7 of the United States Bankruptcy Code on 04/09/2018.
4, The Trustee was appointed as the Chapter 7 trustee in this case.

5. The Trustee held and concluded the continued §341 meeting on 05/10/2018.

6. The Debtor is the sole owner of real property located at 2690 ALTURAS RD
BARTOW, FL 33830 (the “Property”). The Debtor has not claimed the Property as exempt and,
upon information and belief, the Property is vacant.

7. The Debtors have no or little equity in the Property. The Debtor’s schedules
reflect that the Property is currently worth , but is subject to a first mortgage lien (the “Senior
Mortgage”) in favor of Suntrust Mortgage (the “Secured Creditors”) in an amount exceeding .

8. The Trustee, after reviewing certain materials, including (without limitation) the
BK Score™!, sales analysis report and opinion of value for the Property provided by BKRES
and Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all
creditors to negotiate to obtain Secured Creditors’ agreement and consent (“Consent”) to do the
following, with the proviso that the hired professionals, BKRES or Local Agent, shall not
participate in the sale and purchase of any estate property except as hired brokers:

a. sell the Property to whichever third party Trustee determines to have made the
best qualified offer during a public sale approved by the Court;

b. buy the Property from the Debtor’s estate if (and only if) no such offer is
made;

c. release the Senior Mortgage and otherwise waive all of its claims against the
estate with respect to the Property (including any deficiency claims resulting
from the proposed sale); and

d. agree toa 11 U.S.C. § 506 surcharge to pay all of the expenses associated with
the proposed sale, including the payment of a 6% real estate brokerage
commission to BKRES and Listing Agent and reimbursement of their out-of-
pocket expenses, and provide a carve-out for the benefit of allowed unsecured
creditors of the Debtor’s estate.

9. Trustee expects BKRES and Listing Agent to obtain Secured Creditors’ Consent
and bring a separate motion seeking an order approving the sale of the Property (the “Motion to
Approve Sale”) within several months of the entry of the order sought by this Application.

10. | The Trustee requests authority pursuant to Sections 327, 328(a) and 330 of the
Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured Creditors’ Consent,
and (b) approve Secured Creditors’ payment of the fees described below directly to BKRES and

 

 

' The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
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Listing Agent at closing of the sale of the Property, if and when the Consent and Motion to
Approve Sale are granted.
APPLICATION

11. Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor
“with the court’s approval, may employ or authorize the employment of a professional person
under section 327...0n any reasonable terms and conditions of employment, including on a
retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11
U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee...
or a professional person employed under section 327...(A) reasonable compensation for actual,
necessary services rendered [by such party]...and (B) reimbursement for actual, necessary
expenses.” 11 U.S.C. § 330(a)(1).

12. As further described in the materials attached to their affidavits, BKRES? and
Listing Agent have extensive experience obtaining the consent and agreement of mortgage
lenders and servicers to the sale of their collateral and resolution of any resulting unsecured
claims in order to produce a recovery for estates from over-encumbered assets in which the
estate has no equity.

13. The Trustee believes that the highest and best value for the Property will be
generated through a sale in which the Property is widely marketed to the public and offered at
the highest price that the market will bear. The Trustee further believes that such a sale is in the
best interest of the Debtor’s estate, but can only be achieved if Secured Creditors’ Consent is
first obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to
obtain Secured Creditors’ Consent is in the best interests of the Debtor’s estate.

14. _—_ In no event will the estate have any obligation to pay BKRES or Listing Agent.
The terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing
Agent are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the
Motion to Approve Sale is granted and (c) the Property is sold, in which event BKRES and
Listing Agent will receive and share a 6% real estate brokerage commission at closing in
accordance with the order approving the sale.

15. | BKRES and Listing Agent will not be entitled to any fees if Secured Creditor
does not grant its Consent or the Court does not grant the Motion to Approve Sale.

16. | The Trustee submits that the terms of employment and compensation as set out in
the BKRES Agreement and Listing Agreement are reasonable in light of the extensive
experience of BKRES and Listing Agent and the nature of the services they provide.

17. BKRES attested that it is a disinterested person within the meaning of
Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and
2016(a). Attached hereto is an Affidavit of Disinterestedness of BKRES. BKRES also attests,
pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or
entity other than Listing Agent.

18. Listing Agent attested that it is a disinterested person within the meaning of
Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and
2016(a). Attached hereto is an Affidavit of Disinterestedness of Listing Agent. Listing Agent
also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any
individual or entity other than BKRES.

 

2 BKRES is the broker affiliate of BK Global (http:/Awww.bkginc.com/).
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Therefore, the Trustee seeks authority to retain BKRES and Listing Agent in this case,
and requests that the Court approve the compensation arrangements set forth in the BKRES
Agreement and Listing Agreement pursuant to Sections 327, 328(a) and 330 of the Bankruptcy

Code.
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Stephen L. Me eefr hapter 7 Trustee
707 North FranklitiStreet
Suite 850

Tampa, FL 33602
(813) 301-1025

Date: July 27, 2018

 
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UNITED STATES BANKRUPTCY COURT

_MIDDLE DISTRICT OF FLORIDA
In re: Chapter 7
Case No. 18-02807
Debtor
Mark Piburn
Judith Piburn

DECLARATION OF PATRICK BUTLER IN SUPPORT OF APPLICATION
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND KELLER WILLIAMS
REALTY TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C, § 327,
328 AND 330

The undersigned, Patrick Butler (“Declarant”) hereby states:

l. I am employed by BK Global Real Estate Services (“Applicant” or
“BKRES”), which is an entity duly licensed as a real estate brokerage by the State of Florida
located at 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton, FL 33487. [am Applicant’s
broker-in-charge and am authorized by Applicant to submit this Declaration on Applicant’s behalf
in support of the annexed Application to Retain BKRES and in accordance with Bankruptcy Rule
2014.

2. Based upon the information discussed below, I believe that Applicant is a
disinterested person and does not hold or represent any interest adverse to the interest of the
Debtor’s estate as that term is defined in Section 101(14) of the Bankruptcy Code.

3. To the best of my knowledge: (a) neither BKRES nor any of its employees
has any connection with the Debtor, its creditors in this case, the Chapter 7 Trustee, the Office of
the United States Trustee, or any employees thereof or any party in interest herein; (b) BKRES

and each of its employees are “disinterested persons,” as that term is defined in Section 101(14)
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of the Bankruptcy Code; and (c) neither BKRES nor any of its employees hold or represent an
interest adverse to the Debtor’s estate.

3. A description of the qualifications of, and services provided by, BKRES is
attached as Schedule 1.

4. That I have read the application of the Trustee regarding the retention and
compensation of BKRES and agreed to be bound by the terms and conditions represented therein.

5. That I further understand that the Court, in its discretion, may alter the terms
and conditions of employment and compensation, as fully set forth in the BKRES Agreement that
is attached as Schedule 2 hereto, as it deems appropriate.

Verified under penalty of perjury that the foregoing is true and correct this PS day of

July, 2018.

Patrick Butlér
Broker-in-Charge

The foregoing instrument was sworn to and subscribed before me this 25 Yay of July, 2018, by

Patrick Butler who provided identification or is personally known to me and who did take an oath.

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Notary Publid, State of Florida

My Commission Expires

; ee Notary Public State of Florida
Lyda Castro
Of 3 My Commission FF @08572
he ws

Expires 08/09/2019

 

 
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SCHEDULE |

STATEMENT OF QUALIFICATIONS AND SERVICES OF BKRES

BK Global™

BK Global™ is a national company with a bankruptcy service platform containing a network of
certified BK real estate Brokers and Agents, a national marketplace for listing and submitting
bankruptcy real estate purchase offers (www.bkglistinus.com), and a centralized team of loan
servicing specialist that enable Federal Trustees to streamline and manage their real estate needs

most effectively for the benefit of the bankruptcy estate and unsecured creditors. By integrating its

unique services and implementing its proprietary tools, BK-Global_is_poised_to_createindustry_.__ _
standards and efficiencies.

Consented Sale™

A Consented Sale™ is an “enhanced” agreement between all requisite stakeholders, the most
important being the lender/servicer, of a residential or commercial property for less than what the
owner still owes on the mortgage. A Consented Sale™ is a beneficial alternative to foreclosure
when a homeowner needs to sell and can no longer afford to make their mortgage payments. The
lender agrees to accept less than the arnount owed to pay off a loan now rather than taking the
property back by foreclosure and trying to sell it later. Lenders agree to a Consented Sale™
because they believe it will net them more money than going forward with a lengthy and costly
foreclosure process.

BK Score™

BK Score™ is generated from a finite set of data points in a prescribed sequence to achieve a
resulting score between the values of | and 100. The BK Score™ is shared with trustees, servicers,
courts, and software management platforms and indicates the likelihood that an asset in a
bankruptcy is qualified for consented disposition. The higher the BK Score™ there is a better
chance to sell the property. In addition to the presented scores, BK Global provides the trustee a
solution to sell the asset which maximizes the benefit to the estate. BK Global™ is at the forefront
of creating new industry standards _ for trustee services.

To consistently measure and predict market value of real estate assets nationally, in an ever
changing and fluid real estate market, it is important to have a well-defined methodology that
explains how values are derived. The BK Score™ uses multiple data points to predict sales
confidence compared to the limited local market inputs used by real estate brokers who are not
certified in short sales. BK Score™ incorporates a number of unique methodology questions that
include the data points listed below. , ,
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Highlighted BK Score™ Data Points
e Asset Value / Liabilities / Liens
e Judicial / Non-judicial State Analysis
e Pro Se (Professional Legal Representation)
e Title Search
e Statement of Intent by Debtor
e Foreclosure Timeline Analysis

e Redemption Period Analysis

e Community /Non-community Asset
e Asset Valuation Model (AVM)

BK Score™ Core Benefits

    

Increased Confidence of a Consented Short Sale - BK Score™ gives lenders, servicers and real
estate professionals more precise information on which to determine baseline sales values to achieve
a successful consented short sale.

Accelerates the Short Sale Decision Process — Technology that utilizes scoring systems allows
lenders/servicers to make instant valuation and sales consent decisions. This is notable as applications
for consented sale of property can be approved by lenders/servicers in hours rather than weeks for
sales values which score above a lender's score cutoff.

Reduces Risk of Completing a Cooperative Short Sale — There are certain barriers to a short sale.
Servicers are frequently wary of short sale offers because of concerns that they are settling the debt at
too low a price. Greater probability that servicers will consent to a short sale is made possible thanks
to BK Score™. The BK Score™ empowers any lender/servicer to quickly set a cut off price and begin
the short sale process, without time-consuming phone calls, faxed documents, or any effort from the
agent or trustee.

Increases Transaction Transparency — BK Global™ is integrated with most major lender/servicers
nationally. The BK Score™, which has revolutionized the default servicing industry, helps servicers
select and execute optimal baseline valuations based on measurable guidelines while driving
efficiency, fostering transparency and facilitating compliance. With the use of BK Score™ agents and
trustees can quickly collaborate and determine an appropriate list price that allow agents to begin
pursuing sales offers with confidence.

The BK Score™ algorithm has been developed by industry experts that have over 30 years of
experience in Distressed Real Estate and Bankruptcy Sales. To date, over 2 years of bankruptcy. assets
have been analyzed and scored using the BK Global Scoring system. BK Score™ is a trademark
pending registration with the US Trademark and Patent Office.
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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

In re: Case No. 18-02807
Chapter 7
Mark Piburn
Judith Piburn
Debtors /

 

AFFIDAVIT OF MARCIA PEACOCK IN SUPPORT OF APPLICATION
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND KELLER
WILLIAMS REALTY TO PROCURE CONSENTED PUBLIC SALE PURSUANT
TO 11 U.S.C. § 327, 328 AND 330

STATE OF FLORIDA )
)
COUNTY OF Polk )

Marcia Peacock, being duly sworn, says:
1. Iam a real estate agent duly licensed by the State of Florida.

2. ] am an agent of Keller Williams Realty a Florida Corporation, with
corporate offices located at 218 E Pine St , Lakeland, FL 33801 (“Listing Agent”).

3. Tam familiar with the Application to Retain Keller Williams Realty,
filed by the Trustee (“Application”) and the property described therein.

4, I believe that I am experienced and qualified to represent the Trustee
in connection with the marketing and sale of the real property located at 2690 Alturas Rd,
Bartow, FL 33830 (the “Property”).

5. Keller Williams Realty has agreed to accept employment pursuant
to the terms and conditions set forth in the Application and the proposed commission
structure. Based upon my experience and knowledge of the real estate market, I believe
that the commission structure proposed to be paid to Listing Agent does not exceed
customary commissions in the applicable geographical area and are reasonable for the type
of employment proposed.

 
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6. Neither I nor any member of Keller Williams Realty hold or
represent any interest adverse to the estate with respect to the matters for which we are to
be employed and we are disinterested persons within the meaning of 11 U.S.C. § 101(14),
as required by § 327(a).

7. To the best of my information and belief, neither I nor the other
members of this firm have any connection with the Debtors, their creditors, or any other
party in interest or their respective attorneys or accountants, the U. S. Trustee, or any person
employed in the office of the U.S. Trustee, as required by Rule 2014 of the Federal Rules
of Bankruptcy procedure except as set forth below.

8. I represent no interest adverse to the Debtors or its estate in the
matters upon which I am to be engaged.

FURTHER AFFIANT SAYETH NAUGHT. A , Kp kh

Marcia Peacock of
Keller Williams Realty

The foregoing instrument was sworn to and subscribed before me this OS day of

Tuly ; 2018.
NOTARY PUBLIC

State of Florida

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Commissioned

 

Nelson Scott Rich, II x
O tcf Notary Bae oa of Florida

My Gommission Expires 3/20/2020 Wasa Sustt Bae
, Commission No. FF 972827 \son_ Seott fein I

Type, Stamp, or Print Name as
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY, that a true and correct copy of the foregoing Chapter 7 Trustee’s
Application To Retain BK Global Real Estate Services And KELLER WILLIAMS REALTY To
Procure Consented Public Sale Pursuant to 11 U.S.C. §§327, 328, And 330 has been furnished by
U.S. Mail and/or the Court’s CM/ECF system to the ASST. U.S. TRUSTEE, 501 E. Polk St.,
#1200, Tampa, FL 33602 and BK GLOBAL, 1095 Broken Sound Pkwy., Suite 100
Boca Raton, FL 33487, and, KELLER WILLIAMS REALTY, 1511 Gulf Boulevard, Indian
Rocks Beach, FL 33785, on this 27 the day of July, 2018.

Aiephen L. Meittinger, Chapter 7 Trustee
“ 707 North Fran eet
Suite 850

Tampa, Florida 33602
(813) 301-1025

   
  

 
